       Case 2:05-cr-00365-JAM Document 184 Filed 05/05/10 Page 1 of 2

1    MALCOLM S. SEGAL - 075481
     JAMES P. MAYO - 169897
2    SEGAL & KIRBY LLP
     770 L Street, Suite 1440
3    Sacramento, CA 95814
     Telephone: (916) 441-0828
4    Facsimile: (916) 446-6003
5    Attorneys for Defendant
     LINDA M. BURKE
6
7
8
                     IN THE UNITED STATES DISTRICT COURT FOR THE
9
                               EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                         CASE NO. CR.S-05-0365 FCD
12
                 Plaintiff,                            AMENDED STIPULATION AND
13                                                     ORDER CONTINUING JUDGMENT
           vs.                                         AND SENTENCING
14                                                     _______________________________
     LINDA M. BURKE,
15
16               Defendant.
                                               /
17
18
19         The defendant Linda Burke requests that the Judgment and Sentencing currently
20   set for May 10, 2010, be continued to July 19, 2010.
21         Good cause exists for the continuance. The defendant is expected to testify in the
22   trial of James Burke, which commenced on Tuesday, April 27, 2010. As is
23   contemplated by the plea agreement in this case, continuing the imposition of
24   defendant Linda Burke’s Judgment and Sentencing until after the trial of her co-
25   defendant will provide the Court with a more complete view of the facts in this case, the
26   degree of her cooperation and of her involvement in the matters leading to the filing of
27   the charges against her.
28   ///

                                                    1
                     Amended Stipulation and Order Continuing Judgment and Sentencing
      Case 2:05-cr-00365-JAM Document 184 Filed 05/05/10 Page 2 of 2

1          IT IS SO STIPULATED.
2                                                    SEGAL & KIRBY LLP
3    Dated: May 5, 2010
4
5                                             By:    /s/ Malcolm S. Segal
                                                     Malcolm S. Segal
6                                                    Attorneys for Defendant LINDA M. BURKE
7
     Dated: May 5, 2010
8
9                                             By:     /s/ Robin Taylor
                                                     Robin Taylor
10                                                   Assistant United States Attorney
                                                     (signed per authorization)
11
12
                                                 ORDER
13
           GOOD CAUSE APPEARING, it is hereby ordered that the Judgment and
14
     Sentencing set for May 10, 2010 is continued to July 19, 2010, at 10:00 a.m.
15
     Dated: May 5, 2010
16
17
18                                            _______________________________________
                                              FRANK C. DAMRELL, JR.
19                                            UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28
                                                    2
                     Amended Stipulation and Order Continuing Judgment and Sentencing
